                                                                          CLERK'SOFFICE U.S.DIST.COURT
                                                                                 ATABINGDON,VA
                                                                                      FILED
                          UM TED STA TE S D ISTR ICT C O U R T                          JCL 2i 2219
                          W ESTERN DISTRICT O F VIRGINIA                                 ;
                                        DA N V ILLE                                 JU      C.   E% CLERK
                                                                                   sy,  s,
                                                                                         Dy
                                                                                          PU
UN ITE D STA TES OF A M ERIC A
                                                        case N o    :     --
              V.                                               . .
                                                                 -19 c a,y     .    J''' .'z.
                                                                                   .n

                                                        Violations:21U.S.C.j841(* (1)
PA U LETTE G EN ETH A TO LLER                                      21U.S.C.j843(a)(3)
                                       IN D ICTM EN T

                                       C O IJN T O NE
     The Grand Jtu'y chargesthat:

       1. Between andincluding in oraboutJtm e2017andJune2019 in theW esternDistrictof

Virgizlia and elsewhere, PAULETTE GENETHA TOLLER knowingly and intentionally

possessed with the intentto distribute Schedule 11controlled jubstanqes,including the following

(a11nmountsareapproximate):
            a. 6,088oxycodonepills

            b. 5,246hydrocodonepills,and

            c. 65hydrom orphonepills.

       2. Al1inviolationofTitle21,Urlited StatesCode,Sections841(a)(1)and 841(b)(1)(C).
                                       C O U N T TW O

     TheGrand Jury chargesthat:

           Between and includingin oraboutJune2017 and Jtme20t9intheW estem Districtof
                                                          ,




Virginia and elsewhere, PAULETTE GENETHA TOLLER knowingly and intentionally

possessed withtheintentto distribute ScheduleIlIcontrolled substances,includingapproxim ately

760 codeine pills.

       1. A11inviolation ofTitle21,UnitedStatesCode,Sections841(a)(1)and841(b)(1)(E).

                              United Statesv.'Paulette G.Toller

                                         Page 1 of3

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                                       C O U N T TH R EE
     TheGrandJury chargesthaf;

       1. Between and including in oraboutJtme2017 and June2019in theW estem Districtof

Virginia and elsewhere, PAULETTE GEN ETHA TOLLER knowingly and intentionally

possessedwith the intentto diskibuteScheduleIV controlled substances,includingthe following

(a11amountsareapproximate):
            a. 713 lorazepam pills,

            b. 270 alprazolam pills,

            c. 240 zolpidem tartrate pills,

            d. 20 clonazepam pills,and

            e. 20 tem azepnm pills.

      2. A11inviolationofTitle21,UnitedStatesCode,Sections841(a)(1)and841(b)(2)
                                       C O UN T FO U R
     The Grand Jtlry chargesthat:

           BetweenandincludinginoraboutJune2017andVne2019intheWesternDistrictof
Virginiaand elsewhere,PAULETTE GENETHA TOLLER knowingly gnd intentionally acquired

and obtainedpossession ofcontrolled substancesby i isrepresentation,fraud,forgery,deception,

andsubterfuge,includingthefollowing(a1lnmotmtsareapproximate):
            a. 6,088oxycodùnepills

            b. 5,246 hydrocodonepills,

                65hydrom orphonepills.

            d. 760 codeinrpills,
                          .




            e. 713 lorazepnm pills,

                              United States v.Paulette G.Toller

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   Case 4:19-cr-00028-JLK Document 14 Filed 07/24/19 Page 2 of 3 Pageid#: 19
            f. 270 alprazolnm pills,

            g. 240 zolpidem tartratepills,

            h. 20 clonazepam pills,and

               20temazepnm pilks.
          Al1inviolationofTitlé21,United StatesCode,Sections843(a)(3)and 843(d)(1).

     ATRUEBILL,thisVg              dayofJuly,2019.


                                                       s/Grand Jury Foreperson




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United StatesAttom ey




                             Un'itedStates v.PauletteG.Toller

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